        Case 18-22339-JAD                       Doc 77
     Fill in this information to identify the case:
                                                              Filed 07/13/21 Entered 07/13/21 11:43:15                     Desc Main
                                                              Document Page 1 of 4
     Debtor 1              ROGER A GUMINSKI


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          18-22339JAD




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.

 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  M & T BANK                                                                      8-2

 Last 4 digits of any number you use to identify the debtor's account                         9   1   2   6

 Property Address:                             118 MARTIN RD
                                               ENON VALLEY PA 16120




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $           0.00

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $           0.00

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $           0.00


 Part 3:             Postpetition Mortgage Payment


 Check one

 ý Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $644.32
         The next postpetition payment is due on                 9 / 1 / 2021
                                                                MM / DD / YYYY

 ¨ Mortgage is paid directly by the debtor(s).


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Debtor 1     ROGER A GUMINSKI                                                 Case number   (if known)   18-22339JAD
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)



 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date   07/13/2021


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     ROGER A GUMINSKI                                        Case number   (if known)   18-22339JAD
             Name




                                           Disbursement History

Date         Check #    Name                               Posting Type                                              Amount
MORTGAGE REGULAR PAYMENT (Part 3)
12/11/2019              M & T BANK                         REALLOCATION OF CONTINUING DEBT                          1,953.06
01/28/2020   1146837    M & T BANK                         AMOUNTS DISBURSED TO CREDITOR                            1,170.19
02/25/2020   1150362    M & T BANK                         AMOUNTS DISBURSED TO CREDITOR                              624.65
03/23/2020   1153845    M & T BANK                         AMOUNTS DISBURSED TO CREDITOR                              624.65
04/27/2020   1157305    M & T BANK                         AMOUNTS DISBURSED TO CREDITOR                              624.65
05/26/2020   1160643    M & T BANK                         AMOUNTS DISBURSED TO CREDITOR                              624.65
06/26/2020   1163781    M & T BANK                         AMOUNTS DISBURSED TO CREDITOR                              624.65
07/29/2020   1166901    M & T BANK                         AMOUNTS DISBURSED TO CREDITOR                              624.65
08/25/2020   1169979    M & T BANK                         AMOUNTS DISBURSED TO CREDITOR                              624.65
09/28/2020   1173063    M & T BANK                         AMOUNTS DISBURSED TO CREDITOR                              624.65
10/26/2020   1176152    M & T BANK                         AMOUNTS DISBURSED TO CREDITOR                              624.65
11/24/2020   1179229    M & T BANK                         AMOUNTS DISBURSED TO CREDITOR                              624.65
12/21/2020   1182182    M & T BANK                         AMOUNTS DISBURSED TO CREDITOR                              624.65
01/25/2021   1185146    M & T BANK                         AMOUNTS DISBURSED TO CREDITOR                              684.26
02/22/2021   1188271    M & T BANK                         AMOUNTS DISBURSED TO CREDITOR                              644.32
03/26/2021   1191550    M & T BANK                         AMOUNTS DISBURSED TO CREDITOR                              644.32
04/26/2021   1194810    M & T BANK                         AMOUNTS DISBURSED TO CREDITOR                              644.32
05/25/2021   1197943    M & T BANK                         AMOUNTS DISBURSED TO CREDITOR                              644.32
06/25/2021   1201126    M & T BANK                         AMOUNTS DISBURSED TO CREDITOR                            1,288.04
                                                                                                                   14,543.98




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                                          CERTIFICATE OF
                                          Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

ROGER A GUMINSKI
118 MARTIN ROAD
ENON VALLEY, PA 16120

GLENN R BARTIFAY ESQ
2009 MACKENZIE WAY STE 100
CRANBERRY TWP, PA 16066

M & T BANK
ATTN PAYMENT PROCESSING
POB 1288
BUFFALO, NY 14240-1288

M & T BANK
PO BOX 840
BUFFALO, NY 14240

MCCALLA RAYMER ET AL
NATL BANKRUPTCY DEPT**
1544 OLD ALABAMA RD**
ROSWELL, GA 30076-2102




7/13/21                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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